                  IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION

      IN RE:
      MARTIN J. SMITH,                               FOR AN ARRANGEMENT
      SSN: XXX-XX-4349                               UNDER CHAPTER 11
                                                     PROCEEDINGS.
      LAURI B. SMITH,
      SSN: XXX-XX-7886                               CASE NUMBER 14-80263

      Debtors.

                        REQUEST TO RE-OPEN CASE TO FILE
                          DEBTORS’ PLAN MODIFICATION

         COMES NOW the Debtors, MARTIN J. SMITH and LAURI B. SMITH, in the
  above-entitled case, by and through their attorney of record and hereby moves this
  Honorable Court to re-open the above referenced cause and would show this Honorable
  Court as follows:

         1) The Debtors in Possession filed the petition for relief in the above styled
            Chapter 11 case on January 30, 2014.

         2) The Chapter 11 Plan was confirmed, by this court, on November 12, 2014.

          3) This Chapter 11 Bankruptcy was closed April 24, 2015. The Debtors’
  confirmed Amended Plan of Reorganization provides in Article VI, “After confirmation,
  the Debtors may remedy the Plan, any defect or omission or reconcile any inconsistency
  in the Plan, or in the order of the confirmation in such manner as it may be necessary to
  carry out the purposes and intent of this Plan, all such activities to be carried out subject
  to approval of the Court.” and Article VII provides the following:

           4. The correction of any defect, the curing of any omission or the
           reconciliation of any inconsistency in this Plan or the Order of Confirmation as
           may be necessary to carry out the purposes and intent of this Plan.

         5. The modification of this Plan after confirmation pursuant to the Bankruptcy
         Rules and Title 11 of the United States Code.

          4) The Debtors in Possession have moved to Arizona where he practices as an
  emergency room physician. Section 1127(f) of the Bankruptcy Code provides that an
  individual debtor’s “plan may be modified at any time after confirmation of the plan but
  before the completion of payments under the plan, whether or not the plan has been
  substantially consummated, upon request of the debtor, the trustee, the United States
  trustee, or the holder of an allowed unsecured claim, to—




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         (1) increase or reduce the amount of payments on claims of a particular class
  provided for by the plan;”

         5) Debtors in Possession requests this Honorable Court to reopen their Chapter 11
  Bankruptcy, allow Debtor to Sell his homestead in Alabama, pay the mortgage, allowing
  him to retain $30,000 as Debtor’s homestead exemption, and pay the remainder to the
  IRS and State of Alabama pursuant to any valid liens they may be entitled as law and
  equity may require.

          Wherefore, premises considered, the undersigned would request this Honorable
  Court re-open the above case to allow the Debtors in Possession to file a modification of
  the plan.



                                               /s/ S. Mitchell Howie
                                               S. MITCHELL HOWIE
                                               Attorney for Debtor
                                               107 North Side Square
                                               Huntsville, Alabama 35801
                                               (256) 533-2400


                               CERTIFICATE OF SERVICE

          I hereby certify that I have served the foregoing Motion to Reopen filed by
  Debtors in Possession on 05-21-19 to all parties listed on the attached Creditors Matrix as
  well as the Trustee, via the Court’s CM/ECF Filing System and/or U.S. Mail on this, the
  21st day of May, 2019.




                                               /s/ S. Mitchell Howie
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                                               Huntsville, AL 35801
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